Case 1:14-cv-00836-TCW Document5_ Filed 10/03/14 Page 1 of 2

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In the Anited States Court of Federal Claims
No. 14-836C FILED

(Filed: October 3, 2014) OCT -3 2014
FOGG GGG GR rok Gk goa sok kak kook kk U.S. COURT OF
* FEDERAL CLAIMS
WILLIAM DEAN CARPENTER, *
*
Plaintiff, *
*
Vv. 7
*
THE UNITED STATES, =
*
Defendant. a
*

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ORDER OF DISMISSAL

WHEELER, Judge.

On September 8, 2014, Plaintiff William Carpenter filed a pro se complaint
against the United States and various past and current federal officials. The complaint
alleges a claim of illegal confinement in violation of the United States Constitution. More
specifically, Mr. Carpenter alleges that his confinement following a guilty plea was
illegal because Title 18 of the United States Code is unconstitutional. Compl. 5;
Supplemental Information to Exs. 10. Although the United States Court of Federal
Claims has jurisdiction over certain Constitutional claims and claims of unjust
imprisonment, this action falls outside the scope of that authority and must be dismissed
for lack of subject matter jurisdiction.

The Court of Federal Claims is a court of limited jurisdiction. Marcum LLP v.
United States, 753 F.3d 1380, 1382 (Fed. Cir. 2014). The Tucker Act confers jurisdiction
to this Court and expressly waives sovereign immunity for “any claim against the United
States founded [ ] upon the Constitution.” 28 U.S.C. § 1491(a)(1) (2012). The Tucker
Act “does not create a substantive cause of action; in order to come within the
jurisdictional reach and the waiver of the Tucker Act, a plaintiff must identify a separate
source of substantive law that creates the right to money damages.” Fisher v. United
States, 402 F.3d 1167, 1172 (Fed. Cir. 2005) (citing United States v. Mitchell, 463 U’S.
Case 1:14-cv-00836-TCW Document5 Filed 10/03/14 Page 2 of 2

206, 216 (1983) and United States v. Testan, 424 U.S. 392, 398 (1976)). “In the parlance
of Tucker Act cases, that source must be ‘money-mandating.’” Id. (citing Mitchell, 463
U.S. at 217 and Testan, 424 U.S. at 398).

Mr. Carpenter brings a claim seeking damages for alleged illegal confinement in
violation of Article One and the Fifth, Eighth, Ninth, and Tenth Amendments of the
United States Constitution. Compl. 1. Although the Tucker Act confers jurisdiction to
this Court over Constitutional claims, any allegedly violated provision must itself be
money-mandating. Id.; See 28 U.S.C. § 1491(a). Constitutional claims other than a Fifth
Amendment taking claim “do not state a cause of action for monetary relief against the
United States” in the Court of Federal Claims. Frank’s Livestock & Poultry Farm, Inc. v.
United States, 17 Cl. Ct. 601, 607 (1989), aff'd, 905 F.2d 1515 (Fed. Cir. 1990). In this
case, the Court lacks subject matter jurisdiction under the Tucker Act because Mr.
Carpenter does not allege a taking claim.

Pursuant to 28 U.S.C. §§ 1495 and 2513 (2012), this Court can also adjudicate
certain claims for unjust conviction and imprisonment. This is not such a claim.
Jurisdiction conferred by Section 1495 is limited to a plaintiff who proves that “his
conviction has been reversed or set aside on the ground that he is not guilty . . . or that he
has been pardoned.” § 2513(a). Mr. Carpenter does not allege that his conviction has
been reversed or that he has been pardoned, and therefore his claims do not meet a
threshold requirement of Section 1495.

In sum, where an individual alleges a Constitutional violation, the Constitutional
provision must be money-mandating. Where an individual seeks damages for unjust
imprisonment, he must plead facts that satisfy the requirements of 28 U.S.C. § 2513.
Specifically, a plaintiff must both allege and prove that he is innocent of the offense for
which he was imprisoned, In this case, the allegedly violated Constitutional provisions
are not money-mandating, and Mr. Carpenter does not allege or prove that he is innocent.
As aresult, Mr. Carpenter does not bring an action within the jurisdiction of this Court.

Conclusion

For the reasons set forth above, Mr. Carpenter has failed to state a cause of action
within the jurisdiction of the Court of Federal Claims. Accordingly, this case is hereby
DISMISSED.

IT IS SO ORDERED. Loar (2 ID

THOMAS C. WHEELER
Judge

 
